Case 1:05-cr-00043-NGG            Document 344          Filed 05/20/08        Page 1 of 3 PageID #: 1619



 UNITED STATES DISTRICT COURT                          FOR ONLINE PUBLICATION ONLY
 EASTERN DISTRICT OF NEW YORK
 -----------------------------X

 UNITED STATES OF AMERICA,
                                                                    MEMORANDUM AND ORDER
         - against -                                                     05 CR 43 (JG)

 RONALD MAYO,

                          Defendant.

 -----------------------------X

 A P P E A R A N C E S:

         BRUCE REGENSTREICH
              110 Wall Street, Eleventh Floor
              New York, New York 10005
              Attorney for Defendant

         BENTON J. CAMPBELL
              United States Attorney
              Eastern District of New York
              160 Cadman Plaza East
              Brooklyn, New York 11201
         By:  Lee Freedman
              Assistant U.S. Attorney


 JOHN GLEESON, United States District Judge:

                 On May 5, 2006, Ronald Mayo was sentenced to a 200-month term of imprisonment on

 his plea of guilty to conspiring to distribute narcotics. When he was sentenced, his advisory Sentencing

 Guidelines range was 188 to 235 months. That range was based on a base offense level of 36; a two-level

 upward adjustment for an aggravated role; a two-level downward adjustment for acceptance of

 responsibility; and a final offense level of 36 in Criminal History Category I.

                 In Amendment 706 to the Guidelines, which became effective on November 1, 2007, the

 Sentencing Commission adjusted downward the base offense levels, and ultimately the sentencing ranges,

 for many drug offenses involving crack. In Amendment 713, which became effective on March 3, 2008,

 the Commission made the reduced crack sentences retroactive by adding Amendment 706 (as amended by
Case 1:05-cr-00043-NGG            Document 344             Filed 05/20/08     Page 2 of 3 PageID #: 1620



 Amendment 711) to the list of amendments in U.S.S.G. § 1B1.10(c). Sentenced defendants whose

 Guidelines ranges are lowered by such amendments are eligible for reductions in sentence pursuant to 18

 U.S.C. § 3582(c). Mayo seeks such an adjustment.

                 The application is denied. Congress granted courts the authority to modify sentences

 under 18 U.S.C. § 3582(c) only if a sentence reduction is consistent with the Sentencing Commission’s

 applicable policy statements. The relevant policy statement in this regard is U.S.S.G. § 1B1.10, which

 provides that the court’s authority to reduce a defendant’s term of imprisonment arises only when a

 retroactive amendment has the effect of lowering the defendant’s guideline range:

                 (1)      In General. -- In a case in which a defendant is serving a term of
                          imprisonment, and the guideline range applicable to that
                          defendant has subsequently been lowered as a result of an
                          amendment to the Guidelines Manual listed in subsection (c)
                          below, the court may reduce the defendant’s term of
                          imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
                          required by 18 U.S.C. § 3582(c)(2), any such reduction in the
                          defendant’s term of imprisonment shall be consistent with this
                          policy statement.

                 (2)      Exclusions. -- A reduction in the defendant’s term of
                          imprisonment is not consistent with this policy statement and
                          therefore is not authorized under 18 U.S.C. § 3582(c)(2) if --
                          ...

                           (B)    an amendment listed in subsection (c) does not have the
                                  effect of lowering the defendant’s applicable guideline
                                  range.

 U.S.S.G. § 1B1.10(a).

                 The commentary to the section reiterates what the quoted text already makes

 clear: “Eligibility for consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment

 listed in subsection (c) [of § 1B1.10] that lowers the applicable guideline range.” Id., cmt. n.1.

                 The amended guideline does not lower Mayo’s range. That is because crack was not the

 only drug involved in his offense. In his plea agreement, Mayo stipulated that his sentence should be

 calculated based on at least 50 kilograms of cocaine as well as least 50 grams of crack. The cocaine alone


                                                       2
Case 1:05-cr-00043-NGG           Document 344            Filed 05/20/08    Page 3 of 3 PageID #: 1621



 requires that his base offense, even under the amended guideline, be 36, which was his base offense level

 at the time he was sentenced. Thus, Mayo does not meet a threshold requirement for consideration for a

 sentence modification pursuant to § 3582(c).

                                                CONCLUSION

                 For the foregoing reasons, Mayo’s application for a sentence modification is denied.




                                                                  John Gleeson



 Dated: Brooklyn, New York
        May 20, 2008




                                                     3
